                     IN THE UNITED
Case: 2:17-cv-00998-EAS-EPD          STATES
                             Doc #: 251 Filed:DISTRICT  COURT
                                               04/26/21 Page: 1 of 2 PAGEID #: 12391
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

 IN RE: E. I. DU PONT DE                              CASE NO. 2:13-md-2433
 NEMOURS AND COMPANY C-8
 PERSONAL INJURY LITIGATION
                                                     JUDGE EDMUND A. SARGUS, JR.

                                                      MAGISTRATE JUDGE ELIZABETH P.
                                                      DEAVERS

 This document relates to:
 Travis Abbott and Julie Abbott v. E. I. du Pont de Nemours and Company
 Case No. 2:17-cv-998


                               AMENDED JUDGMENT ORDER


        This action came before the Court for a trial by jury. The jury rendered its verdict on or

 about March 2, 2020 in favor of Plaintiff Travis Abbott on his negligence claims relating to his

 1994 and 2015 cancers, and in favor of Julie Abbott on her loss of consortium claim relating to Mr.

 Abbott’s 2015 cancer (ECF 181, 183). The jury found damages for Travis Abbott in the amount of

 $40,000,000, and damages for Julie Abbott in the amount of $10,000,000 (ECF 183). A clerk’s

 judgment on the verdict was entered on April 7, 2020 (ECF 230). Post-trial motions were timely

 filed by DuPont.

        Following Plaintiffs’ Motion for Prejudgment Interest (ECF 228), the Parties agreed to a

 stipulation regarding prejudgment interest (ECF 231), entered by the Court on April 17, 2020 (ECF

 232). Following briefing on the post-trial motions, the Court granted Defendant’s request to apply

 the Ohio Tort Reform Act to the damages awarded to Julie Abbott, thereby lowering her award

 from $10,000,000 to $250,000, and denied Defendant’s Motion for Remittitur or a New Trial with

 respect to Travis Abbott’s award of $40,000,000. (ECF 245.); (see ECF 246) (clerk’s judgment in

 favor of Plaintiffs). The Parties have subsequently entered into an amended stipulation to
 prejudgment
Case:        interest of $4,343,013.69
       2:17-cv-00998-EAS-EPD      Doc on
                                       #: Travis Abbott’s
                                          251 Filed:      awardPage:
                                                     04/26/21  and $27,143.84 on Julie #:
                                                                     2 of 2 PAGEID     Abbott’s
                                                                                          12392

  reduced award.

        Based on the foregoing, it is hereby ORDERED and ADJUDGED that:

        1.   Travis Abbott shall recover from Defendant $40,000,000 on his claims for

             negligence; stipulated prejudgment interest in the amount of $4,343,013.69; and

             post judgment interest as determined by 28 U.S.C. § 1961, on the sum of the

             award and stipulated prejudgment interest, computed daily and compounded

             annually, from April 7, 2020 until paid.

        2.   Julie Abbott shall recover from Defendant $250,000 on her claim for loss of

             consortium; stipulated prejudgment interest in the amount of $27,143.84; and

             post judgment interest as determined by 28 U.S.C. § 1961, on the sum of the

             award and stipulated prejudgment interest, computed daily and compounded

             annually, from April 7, 2020 until paid.



  IT IS SO ORDERED.


Date: 4/26/2021                              s/Edmund A. Sargus, Jr.
                                             EDMUND A. SARGUS, JR.
                                             UNITED STATES DISTRICT JUDGE




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